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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

V.                             4:06CR00145-02 WRW

RAY DARNELL McDAVID


                                        ORDER

      The Court has reviewed the Proposed Finding and Recommendation received from

Magistrate Judge Jerry Cavaneau. There have been no objections. The Finding and

Recommendation is adopted in its entirety as this Court's finding.

      Accordingly, Defendant’s motion for release pending sentencing (docket entry #37)

is hereby denied.

      IT IS SO ORDERED this 11th day of January, 2007.




                                                 /s/Wm. R. Wilson, Jr.
                                           UNITED STATES DISTRICT JUDGE
